                                           Case 3:21-cv-04703-JSC Document 32 Filed 06/24/22 Page 1 of 2




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT JOHNSON,                                      Case No. 21-cv-04703-JSC
                                                         Plaintiff,
                                   8
                                                                                             ORDER TO DEFENDANT TO APPEAR
                                                  v.                                         AND SHOW CAUSE
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                                  10     SEVDA INC.,                                         Re: Dkt. Nos. 28, 30, 31
                                                         Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13          On June 6, 2022, the Court ordered Defendant to show cause as to why it should not be

                                  14   sanctioned for its failure to appear at scheduled General Order 56 settlement conferences. (Dkt.

                                  15   No. 28.) Defendant submitted a response attesting that it was unaware of any scheduled

                                  16   mediations. (Dkt. No. 28.) In light of Defendant’s representations under oath, the Court ordered

                                  17   the parties to meet and confer regarding a new date for the GO 56 settlement conference and file a

                                  18   joint statement by June 23, 2022. (Dkt. No. 30.) Defendant was warned that failure to comply

                                  19   with the Court’s Order could result in sanctions. On June 23, Plaintiff filed a separate statement

                                  20   indicating that while Defendant responded to counsel’s initial scheduling inquiry, Defendant did

                                  21   not respond to subsequent attempts to confirm the date for the settlement conference. (Dkt. No. 31

                                  22   at ¶¶ 2-4 .) Defendant also did not respond to Plaintiff’s request for approval to file a joint

                                  23   statement. (Id. at ¶¶ 5-6.)

                                  24          Accordingly, Defendant and its counsel is ORDERED TO APPEAR AND SHOW CAUSE

                                  25   on June 30, 2022 at 1:30 p.m. via Zoom video as to why it should not be sanctioned for failure to

                                  26   comply with the Court’s Orders. Failure to appear may result in an award of sanctions without

                                  27   further notice.

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                                          Case 3:21-cv-04703-JSC Document 32 Filed 06/24/22 Page 2 of 2




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                                   2         IT IS SO ORDERED.

                                   3   Dated: June 24, 2022

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                                                                                      JACQUELINE SCOTT CORLEY
                                   6                                                  United States District Judge
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Northern District of California
 United States District Court




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